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WOF
Plaintiff,

VS.
CFi. NO. 05-20057-B

EDD|E NOEMAN,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PEF{|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time, counsel for the
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a
regort date of Monday, August 29, 2005. at Q:_.':IO_a.m., in Courtroom 1 . 1 1th Fioor of the
Federal Bui|ding, Memphis, TN.

The period from July 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

lT is so onDERED this 30 day of J e, 2005.

 

 

DA L BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20057 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

LaWrenee J. Laurenzi

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael W. Whitaker
WH[TAKER LAW FIRM
7054 Highway 64
Oakland, TN 38060

Honorable J. Breen
US DISTRICT COURT

